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 1     JACK L. HENNINGSEN, STATE BAR ID #200062
       jhenningsen@tfmclaw.com
 2     TURNER, FRIEDMAN, MORRIS & COHAN, LLP
       8383 Wilshire Blvd., Suite 510
 3     Beverly Hills, CA 90211
       Telephone: 323-653-3900
 4     Fax: 323-653-3021
 5     Attorneys for Defendant/Counterclaim-
       Plaintiff LS1 LLC and Defendant George
 6     Heckler
 7
                                UNITED STATES DISTRICT COURT
 8
              CENTRAL DISTRICT OF CALIFORNIA (Western Division – Los Angeles)
 9

10     WAYNE HIMELSEIN, an individual,          Case No.: 2:18-cv-03940 GW-(JCx)
11             Plaintiff,
                                                DECLARATION OF LAWRENCE
12     vs.                                      MCMICHAEL IN SUPPORT OF
                                                DEFENDANT/COUNTERCLAIM
13     LS1 LLC, a Pennsylvania Limited          PLAINTIFF LS1, LLC AND
       Liability Company; and                   DEFENDANT GEORGE
14     GEORGE HECKLER, an Individual,           HECKLER’S MOTION FOR
                                                STAY
15            Defendants.
                                                DATE:          December 19, 2019
16                                              TIME:          8:30 a.m.
       LS1 LLC.                                 JUDGE:         Hon. George H. Wu
17                                              COURTROOM:     9D
              Counterclaim-Plaintiff,
18
       vs.
19
       WAYNE HIMELSEIN and LOGICA
20     CAPITAL ADVISERS, LLC,
21            Counterclaim-Defendants.
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                                                -1-
                            DECLARATION OF LAWRENCE MCMICHAEL
       121086821_1
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 1             I, Lawrence G. McMichael, declare as follows:
 2             1.      I have personal knowledge of the facts set forth herein, and if called upon
 3     and sworn as a witness, I could and would testify competently thereto.
 4             2.      I am a partner in the law firm of Dilworth Paxson LLP in Philadelphia,
 5     Pennsylvania. I am a member in good standing of the bar of the Supreme Court of
 6     Pennsylvania, of the Supreme Court of the United States, and of several United States
 7     Courts of Appeal and District Courts. I have been practicing law continuously for 41
 8     years and am a fellow of both the American College of Trial Lawyers and the American
 9     College of Bankruptcy. I have substantial experience in both civil and criminal
10     securities matters.
11             3.      We represent George Heckler in connection with his relationship with
12     Cassatt Short Term Trading Fund, LP, Cassatt Fund Partners, LLC, CV Special
13     Opportunities Fund, LP, LS1, LLC, TA1, LLC, CVAF 1, LLC, GBP1, LLC, School
14     Street Capital, LLC and other related entities. These entities were all administered by
15     Brenda Smith and certain entities controlled by her until December 2017.
16             4.      Presently the Securities and Exchange Commission (“SEC”) and the
17     United States Attorney’s Office for the District of New Jersey (“USAO”) are
18     conducting investigations into Brenda Smith and her entities. These investigations have
19     resulted in criminal charges against Brenda Smith by the USAO and a civil action by the
20     SEC. Ms. Smith was arrested on August 27, 2019 pursuant to a criminal complaint.
21     The newspaper reports of her arrest are attached hereto as Exhibit A. Notification from
22     the SEC is attached as Exhibit B.
23             5.      Mr. Heckler has cooperated fully in these investigations. As part of his
24     cooperation, Mr. Heckler was requested to keep all aspects of the investigation
25     confidential.
26             6.      Mr. Heckler has been advised that he, among others, is a subject of the
27     investigations.
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                              DECLARATION OF LAWRENCE MCMICHAEL
       121086821_1
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 1             7.    Two weeks ago, I represented Mr. Heckler and we attended additional
 2     interviews with the SEC, the USAO, and the FBI. All of these organizations indicated
 3     they were not done with their interviews, and they will need to speak with Mr. Heckler
 4     again in the near future. I anticipate those additional interviews will likely occur
 5     sometime in December 2019. If, at that point, these organizations decide they have
 6     gathered sufficient information from Mr. Heckler, then based on my experience with
 7     government investigations, I would anticipate the two investigations will end within a
 8     few months, with the results being known at that time.
 9             8.    Until the investigations have been concluded, I will advise Mr. Heckler to
10     invoke his constitutional privilege against self-incrimination with respect to any
11     compelled testimony that relates to any of the entities identified in paragraph 3 hereof,
12     any related entities or any transactions involving such entities, including Defendant and
13     Counterclaim-Plaintiff LS1, LLC. My understanding from discussions with the
14     investigators is that the scope of the two investigations includes all of the entities
15     identified in paragraph 3, including LS1.
16

17             I declare under penalty of perjury under the laws of the United States that the
18     foregoing is true and correct. Executed on November 18, 2019.
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21                                             /s/ Lawrence G. McMichael
22                                             Lawrence G. McMichael
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                            DECLARATION OF LAWRENCE MCMICHAEL
       121086821_1
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                             EXHIBIT A
Case 2:18-cv-03940-GW-JC Document 95-2 Filed 11/19/19 Page 5 of 8 Page ID #:1250
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Case 2:18-cv-03940-GW-JC Document 95-2 Filed 11/19/19 Page 7 of 8 Page ID #:1252




                             EXHIBIT B
     Case 2:18-cv-03940-GW-JC Document 95-2 Filed 11/19/19 Page 8 of 8 Page ID #:1253


McMichael, Lawrence G.

From:                            Thompson, Scott A. <ThompsonS@sec.gov>
Sent:                            Tuesday, August 27, 2019 4:46 PM
To:                              McMichael, Lawrence G.
Cc:                              Sylvester, Mark; Burnett, Burk E.
Subject:                         FYI


As you may have seen, we filed an action against Brenda Smith today. She was also arrested.

S. Thompson from iPhone




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